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                   UNITED STATES DISTRICT COURT
                FOR THE wpru,t, PINTRICT QF ALABAMA
                        NORTHERN DIVISION
                          7073 OCT 23 P      I 14
BRIANNA BOE, et aL,                   )

       Plaintiffs,

v.                                             Case No. 2:22-cv-184-LCB
                                                    UNDER SEAL
STEVE MARSHALL, et aL,

      Defendants.-



                SEALED MOTION TO STAY PROCEEDINGS.
                     RELATING TO IN RE VAGUE

      COME NOW James Esseks, Carl Charles, and LaTisha Faulks (the

"Movant Attorneys"), and move to stay any further proceedings in this Court

resulting from or relating to the Final Report of Inquiry issued under seal in the In

re Arnie Adelia Vague miscellaneous proceeding, 2:22-mc-3977-WKW ("the

Miscellaneous Proceeding"), pending appeal of that action. In support of this

motion, Movant Attorneys state as follows:
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                            PROCEDURAL HISTORY,

       As the Court is aware, the Chief Judges of the Northern, Middle, and Southern

Districts of Alabama opened a miscellaneous proceeding entitled In re Vague "to

inquire about the issues raised by counsel's actions" in three cases that challenged

Alabama's "Vulnerable Child Compassion and Protection Act": Ladinsky v. Ivey,

5:22-cv-447-LCB (N.D. Ala.), Walker v. Marshall, 5:22-cv-480-LCB (N.D. Ala.),

and Eknes-Tucker v. Ivey, 2:22-cv-184-LCB (M.D. Ala.). Vague, Doc. 1; The

three judge panel in Vague took testimony in camera from thirty-nine lawyers

involved in Walker, Ladinsky, and Eknes-Tucker through live testimony in five

confidential hearings and sealed written declarations.

      On October 3, 2023, the panel issued a sealed "Final Report of Inquiry" and

ordered service of a copy of the Final Report to this Court "so that [this Court] may

proceed as appropriate," as well as to Chief Judges L. Scott Coogler and Emily C.

Marks. Vague, Doc. 70 (sealed). The panel also ordered the Clerk of Court to close

the case. Id.

      On October 4, 2023, this Court entered an Order stating, "[t]he Final Report

of Inquiry in [Vague] has been referred to the Court so that it may proceed as

appropriate." Boe, Doc. 318 (sealed). That October 4 Order also directed the Clerk

of Court to email the Final Report to all counsel of record in this action who are not

counsel' or parties in Vague. Id. In response, Movant Attorneys filed an Emergency

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Motion to Stay Dissemination of Sealed. Final Report in this case. Boe, Doc. 319.

The Court then entered an Order requiring counsel to submit a detailed memorandum

the following day. Boe, Doc. 320 (sealed). Movant Attorneys complied and

submitted a sealed memorandum as directed by the Court. Boe, Doc. 321 (sealed).

The Court has now entered a briefing Order related to the Emergency Motion to

Stay, as well as scheduled a hearing on November 2, 2023, to address pending

motions and "discuss with Counsel the next procedural steps concerning the

three-judge panel's Final Report of Inquiry." Boe, Doc. 324 (sealed).

      On October 23, 2023, the Movant Attorneys filed in Vague a notice of appeal

to the Eleventh Circuit Court of Appeals. (A copy of the Notice of Appeal is attached

as Exhibit A).

                                   ARGUMENT

      The Movant Attorneys respectfully request that this Court stay any further

proceedings resulting from or relating to the Vague Final Report pending the

resolution of the appeal in the Vague matter.

      District courts have "broad discretion to stay proceedings as an incident to its

power to control its docket." Clinton v. Jones, 520 U.S. 681, 706 (1997); see Landis

v. North American Co., 299 U.S. 248, 254 (1936); CTI-Container Leasing Corp. v.

Uiterwyk Corp., 685 F.2d 1284, 1288 (11th Cir. 1982) (district court's authority "to

stay litigation pending the outcome of [a] related proceeding in another forum is not

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questioned"). In exercising this broad discretion, district courts have considered the

following factors: "(1) whether the federal litigation is at an early stage; (2) whether

a stay will unduly prejudice or tactically disadvantage the non-movant; (3) whether

a stay will simplify the issues in question and streamline the trial; and (4) whether a

stay will reduce the burden of litigation on the parties and the court." F Family

South, LLC v. Baldwin County, No. 20-0612-WS-N, 2021 WL 6052922, at *3 (S.D.

Ala. Oct. 4, 2021); see Green v. Roberts, No. 10-0481-WS-M, 2010 WL 5067442,

at *2 (S.D. Ala. Dec. 6, 2010) (granting a stay to allow the Eleventh Circuit to rule

in a related case on a "threshold agency issue before this case goes forward"); Ctr.

for Biological Diversity v. Desantis, No. 8:21-CV-1521-WFJ-CPT, 2022 WL

899677, at *6 (M.D. Fla. Mar. 28, 2022) (applying the four factors). Further, district

courts may exercise this discretion in the interest of judicial economy. See Wilson v.

Doss, No. 2:09-CV-21-MEF, 2012 WL 5936564, at *1 (M.D. Ala. Nov. 27, 2012).

      As a preliminary matter, the Movant Attorneys are not part of the Boe

litigation, nor have they ever been part of the Boe litigation. Likewise, the Movant

Attorneys were never part of the Ladinsky or Eckes-Tucker litigations—they were

part of only the Walker litigation, which was dismissed and never re-filed. As such,

the Vague Final Report as it relates to the Movant Attorneys is completely

independent of the Boe litigation; it does not even involve the same counsel.




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        All considerations for granting a stay, including the interest of judicial

 economy, weigh in favor of staying proceedings involving or relating to the Vague

Final Report pending appeal. Any such proceedings are plainly "at an early stage,"

as this Court just received the Vague Final Report earlier this month and has not yet

taken any action in reliance on it. F Family South, LLC, 2021 WL 6052922, at *3.

A stay also will serve the interests of "simplify[ing] the issues in question" and

"streamlin[ing]" any further proceedings. Id. The Vague Final Report provides the

very predicate for any proceedings in this Court against the Movant Attorneys.

Accordingly, whether and to what extent the report survives appellate review will

inform how this Court may appropriately "proceed," Boe, Doc. 318 (sealed),

including the appropriate "next procedural steps," Boe, Doc. 324 (sealed).

       Movant Attorneys intend to raise on appeal a number of procedural, legal, and

factual issues that could result in reversal or vacatur of the order. Among other

grounds, Movant Attorneys intend to raise the following on appeal:

       1. they were improperly found to have engaged in misconduct without any

           finding of subjective bad faith;1




I See Hernandez v. Acosta Tractors Inc., 898 F.3d 1301, 1306 (11th Cir. 2018) ("[IJn order for a
court to impose a sanction pursuant to its inherent authority, it must make a finding that the
sanctioned party acted with subjective bad faith.").
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        2. they were improperly found to have engaged in misconduct based on the

            "collective" acts of other attorneys;2

        3. they were improperly found to have engaged in misconduct for marking

            Walker as "related" to another case on the Civil Cover Sheet in the absence

            of any local rule or controlling authority defining "related" or "pending,"

            and even though the Civil Cover Sheet has no legal effect on the

            assignment of judges;3 and

        4. they were improperly found to have engaged in misconduct for voluntarily

            dismissing Walker pursuant to Federal Rule of Civil Procedure 41(a)(1),

            even though the Rule expressly gives them an "unfettered right voluntarily




2 See JTR Enterprises, LLC v. Columbian Emeralds, 697 F. App'x 976, 987 (11th Cir. 2017) ("Bad
faith is personal to the offender. One person's bad faith may not be attributed to another by
operation of legal fictions or doctrines such as respondeat superior or vicarious liability." (citation
omitted)).
3 See Fed. R. Civ. P. 83(b) ("No sanction or other disadvantage may be imposed for noncompliance
with any requirement not in federal law, federal rules, or the local rules unless the alleged violator
has been furnished in the particular case with actual notice of the requirement."); Sahyers v. Prugh
Holliday & Karatinos, P.L., 603 F.3d 888, 891 (11th Cir. 2010) (Barkett, J., dissenting) ("District
courts do not have the authority to sanction lawyers for conduct not proscribed by law or rule . . .
without first providing them with notice that their conduct may warrant sanctions." (citing Fed. R.
Civ. P. 83(b))); M.D. Ala. L.R. 3.1(a) ("Completed Civil Cover Sheet Required. A completed civil
cover sheet (Form JS44) shall be submitted to the Clerk with the initial civil complaint or notice
of removal filed in this Court by a litigant represented by counsel. This requirement is solely for
administrative purposes, and matters appearing in the civil cover sheet have no legal effect
in the action." (emphasis added)).

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            and unilaterally to dismiss an action" and even though they did not file/re-

            file any further cases.'

 The Movant Attorneys believe they are likely to succeed on the merits of their

appeal, resulting in reversal or vacatur of the Vague Final Report (or at least

significant narrowing with respect to the Movant Attorneys). But at a minimum, the

novel procedural posture and serious findings in the Vague Final Report counsel in

favor of permitting appellate review before proceeding further in reliance on it. In

light of these considerations, staying further proceedings resulting from the Vague

Final Report pending appeal will simplify the questions at issue and will streamline

further proceedings.

         Likewise, staying any further proceedings resulting from or relating to the

Vague Final Report will reduce the burden of litigation on the Court and the parties

as well as promote the interests of judicial economy and fairness. If the issues raised

on appeal result in reversal or vacatur or narrowing of the Vague Final Report, any

proceedings based on the report may become moot or overtaken, or other

preliminary proceedings may be required before further proceedings may continue.




4 See   Wolters Kluwer Fin. Servs., Inc. v. Scivantage, 564 F.3d 110, 114-115 (2d Cir. 2009)
("[Plaintiff] was entitled to file a valid Rule 41 notice of voluntary dismissal for any reason, and
the fact that it did so to flee the jurisdiction or the judge does not make the filing sanctionable.");
Adams v. USAA Casualty Ins. Co., 863 F.3d 1069, 1080-81 (8th Cir. 2017) ("[W]e hold that the
district court erred in concluding that counsel engaged in sanctionable conduct by stipulating to a
dismissal under Rule 41(a)(1) for the purpose of forum shopping and avoiding an adverse result.").
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       Further, no party will suffer any prejudice from a stay. Any proceedings that

result from or relate to the Vague Final Report will have no impact on the scheduling

order in Boe; all deadlines will remain the same and the litigation can proceed

expeditiously. Nor will any proceedings that result from or relate to the Vague Final

Report have any impact on the merits of any claim or defense in the underlying Boe

litigation. Whether any proceedings in this Court are warranted based on the Vague

Final Report is completely independent of the merits of Boe. There is simply no

reason for this Court to take any further action in reliance on the Vague Final Report

while that report is on appeal.

       To be clear, the Movant Attorneys are not requesting a stay of the litigation

on the merits in Boe. Nor are they seeking to delay consideration of the Emergency

Motion to Stay Dissemination of Sealed Final Report in this case. Boe, Doc. 319.

Instead, the Movant Attorneys ask only that this Court stay any further proceedings

relating to or arising from In re Vague or the Final Report of Inquiry pending appeal

of that matter.




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                                       Respectfully submitted,




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                         CERTIFICATE OF SERVICE

      I hereby certify that on October 23, 2023, I filed the foregoing with the Clerk
of the Court UNDER SEAL and served a copy on counsel in the miscellaneous
Vague, action (Case No. 2:22-mc-3977-WKW) by email. THIS BRIEF WAS NOT
SERVED ON THE ALABAMA ATTORNEY GENERAL OR OTHER
COUNSEL FOR PARTIES IN THIS ACTION.




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